Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 1 of 36




        -Exhibit A-
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 2 of 36


     Michael F. Ram, SBN #104805
 1
     Email: mram@forthepeople.com
 2   MORGAN & MORGAN
     711 Van Ness Avenue, Suite 500
 3   San Francisco, California 94102
     Telephone: (415) 358-6913
 4   Facsimile: (415) 358-6923
 5
     Beth E. Terrell, SBN #178181
 6   Email: bterrell@terrellmarshall.com
     TERRELL MARSHALL LAW GROUP PLLC
 7   936 North 34th Street, Suite 300
     Seattle, Washington 98103
 8   Telephone: (206) 816-6603
 9   Facsimile: (206) 319-5450

10   [Additional counsel appear on signature page]

11   Attorneys for Plaintiffs and the Proposed Class
12                              UNITED STATES DISTRICT COURT
13                             NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
14
     DANIEL BERMAN, STEPHANIE
15   HERNANDEZ, and ERICA RUSSELL,                     Case No. 4:18-cv-01060-YGR
     individually and on behalf of all others
16   similarly situated,                               FOURTH AMENDED COMPLAINT
17                                                     FOR DAMAGES AND INJUNCTIVE
                           Plaintiffs,                 RELIEF
18          v.
                                                       CLASS ACTION
19   FREEDOM FINANCIAL NETWORK, LLC,
     FREEDOM DEBT RELIEF, LLC, FLUENT,                 JURY TRIAL DEMAND
20
     INC., and LEAD SCIENCE, LLC,
21
                           Defendants.
22

23

24

25          Plaintiffs Daniel Berman, Stephanie Hernandez, and Erica Russell, by their undersigned

26   counsel, for this class action complaint against Defendants Freedom Financial Network, LLC

27   (“Freedom Financial”), Freedom Debt Relief, LLC (“Freedom Debt,” and, together with

28   Freedom Financial, “Freedom”), Fluent, Inc. (“Fluent”), Lead Science, LLC (“Lead Science” or

                                              –1–
                                  FOURTH AMENDED COMPLAINT
                 Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 3 of 36


 1   “Drips”) and their present, former, and future direct and indirect parent companies, subsidiaries,
 2   affiliates, agents, and/or related entities, allege as follows:
 3                                           I.    INTRODUCTION
 4           1.      Nature of Action: This is a class action on behalf of the hundreds of thousands of
 5   people inundated by Defendants’ telemarketing without their consent, in violation of the
 6   Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”).
 7           2.      The telemarketing was conducted by Fluent and Drips for Freedom using
 8   prerecorded voices, a tactic among those that inspired the passage of the TCPA and that most
 9   infuriates consumers to this day.
10           3.      Cellular telephones and numbers listed on the National Do Not Call Registry
11   (“NDNCR”) were not spared. To the contrary, the telemarketing includes waves of SMSs, which
12   specifically target cell phones, and telephone numbers on the NDNCR.
13           4.      Defendants’ excuse for the robocalls is that someone, somewhere purportedly
14   typed the targeted phone numbers into a website. But Fluent pays its affiliates to cause such
15   phone numbers to be inputted, regardless of whether the person who owns the phone number
16   actually consents to being called. The leads contain at least 100,000 facially deficient leads, such
17   as one bearing the name “Dunk Loka” and Plaintiff Berman’s phone number and stating that he
18   lives at “Grand Street” (no house number), and many containing no first or last name at all.
19           5.      Defendants agree, describing the “Dunk Loka” lead as “patently fictitious.” With
20   its “state-of-the-art” platform and “well-trained and well-qualified” professionals, Fluent
21   nevertheless made the determination that such leads should be robocalled repeatedly with
22   telemarketing for Freedom.
23           6.      Even consumers like Plaintiffs Russell and Hernandez who visited Fluent
24   websites and provided phone numbers did not validly consent to calls. Although the TCPA
25   allows consumers to provide prior express written consent to receive robocalls through an
26   electronic signature, the electronic signature must be valid under applicable law. 47 C.F.R. §
27   64.1200(f)(8). Documents showing prior express written consent must be sufficient to show the
28   consumer received “clear and conspicuous disclosure” of the consequences of providing the
                                                –2–
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 4 of 36


 1   requested consent, including clear and conspicuous disclosure of the specific seller on whose
 2   behalf robocalls would be sent.
 3          7.      Defendants failed to make the required disclosures on the websites. Indeed,
 4   Defendants buried their disclosures in small font, used multi-screen bait and switch tactics,
 5   overloaded the visitors with pages of distractions, bundled consent pages, and failed to clearly
 6   and conspicuously identify the seller on whose behalf the telemarketing calls would be placed.
 7          8.      Recipients of this spam told Freedom things like: “I’m trying to figure out why
 8   this number keeps calling me.” FREEDOM_001525. “I am on the Do Not Call Registry list and I
 9   get phone calls from people like you, so how do you think I feel?” FREEDOM_001527. “I
10   would appreciate it if you quit calling this number. I don’t know who Lisa is. I’ve had this
11   number like 3 years and you’ve been calling this number for over a year now.”
12   FREEDOM_001534. “I’ve called before.” FREEDOM_001561. “There is no Lisa here. I’ve had
13   that number for 5 years.” Id. “I’m 13 years old. Can I please stop getting calls from you?”
14   FREEDOM_001569. And then, in response to Freedom’s reply of “Yeah, I think if you hit the
15   ‘stop’ on your phone I think it says it would stop,” “I fucking did that like 3 times.” Id.
16          9.      Facing a revolt from its salespeople, Freedom told them that the people Fluent
17   was robocalling had expressed a desire for the sort of debt-assistance services sold by Freedom.
18          10.     They had not.
19          11.     Freedom knew these leads were bogus but kept up the campaign, even after the
20   filing of this and at least two other lawsuits, because it was profitable. For example, on March 5,
21   2018, Freedom employee Cody Longfield wrote to a colleague: “every time I take a lead that is
22   from Fluent marketing it is typically somebody just very angry telling this number to stop calling
23   them. There is no way for me to put them on a DNC list or anything like that, but not sure if this
24   marketing campaign is working so well. Just a heads up. I have already taken two of them today
25   and many in the past that never even want any[ ]information from us. They just want us to leave
26   them alone.” FREEDOM_000992.
27          12.     That email was promptly forwarded to Freedom’s Senior Director of Sales
28   Operations, who wrote: “No need for action,” and then, “when one agent gets one complaint,
                                               –3–
                                   FOURTH AMENDED COMPLAINT
                  Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 5 of 36


 1   they believe the sky is falling! I tell them this [] campaign has a good ROI.”
 2   FREEDOM_000991.
 3           13.     Fluent’s senior executive on the campaign shared this view. “It’s a texting
 4   program, ppl gonna complain about texts,” [sic] he wrote. He concluded the email: “If we reduce
 5   the number of calls, we’ll prob lose revenue” [sic]. FLUENT_000421.
 6                                              II.    PARTIES
 7           14.     Plaintiff Daniel Berman is an individual residing in California, in this District and
 8   Division.
 9           15.     Plaintiff Stephanie Hernandez is an individual residing in California, in this
10   District.
11           16.     Plaintiff Erica Russell is an individual residing in Oklahoma.
12           17.     Freedom Financial is a limited liability company organized under the laws of
13   Delaware with its principal place of business at 1875 South Grant Street, Suite 400, San Mateo,
14   California 94402.
15           18.     Freedom Debt is a limited liability company organized under the laws of
16   Delaware with its principal place of business at 1875 South Grant Street, Suite 400, San Mateo,
17   California 94402.
18           19.     Freedom Debt is a wholly owned subsidiary of Freedom Financial. Each is the
19   other’s alter ego.
20           20.     Fluent is a corporation organized under the laws of Delaware with its principal
21   place of business at 2650 North Military Trail, Suite 300, Boca Raton, Florida 33431.
22           21.     Fluent’s alter egos include “Cogint, Inc.,” “Fluent, LLC,” “American Prize
23   Center, LLC,” and “RewardZone USA.”
24           22.     Drips is a limited liability company organized under the laws of Ohio with its
25   principal place of business at 24 North High Street, 2nd Floor, Akron, Ohio 44308.
26           23.     Lead Science does business as “Drips.” That’s a reference to “drip” marketing—
27   the tactic of repeatedly contacting a target: drip, by drip, by drip.
28

                                                –4–
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 6 of 36


 1                                III.    JURISDICTION AND VENUE
 2          24.     Jurisdiction: This Court has federal-question subject matter jurisdiction over
 3   Plaintiffs’ claims pursuant to 28 U.S.C. § 1331 because the TCPA is a federal statute. 47 U.S.C.
 4   § 227; Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 372 (2012).
 5          25.     Personal Jurisdiction: This Court has personal jurisdiction over Defendants
 6   because:
 7                  a.      Freedom is headquartered in California; and
 8                  b.      Defendants’ concerted conduct at issue was organized in part from
 9   Freedom’s California’s headquarters; and
10                  c.      Defendants’ conduct at issue intentionally targeted Plaintiffs, two of
11   whom are California residents, while they were in California, at their cellular telephone numbers,
12   which bear California area codes, on the ostensible basis of the submission of lead generation
13   forms from purported California IP addresses and bearing purported California addresses.
14          26.     Venue: Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1)-(2)
15   because a substantial part of the events giving rise to Plaintiffs’ claims—namely, the
16   coordination of the illegal telemarketing—occurred in this District.
17          27.     Intradistrict Assignment: Assignment to this Division is proper pursuant to Civil
18   L.R. 3-2(c) because a substantial part of the events or omissions that give rise to Plaintiffs’
19   claims— namely, Plaintiff Berman’s receipt of the illegal telemarketing—occurred in the County
20   of Alameda.
21                                              IV.    FACTS
22   A.     The Enactment of the TCPA and Its Regulations
23          28.     Robocalls Outlawed: Enacted in 1991, the TCPA makes it unlawful “to make any
24   call (other than a call made for emergency purposes or made with the prior express consent of the
25   called party) using an automatic telephone dialing system or an artificial or prerecorded voice to
26   any telephone number assigned to a … cellular telephone service.” 47 U.S.C. § 227(b)(1). Calls
27   made by an ATDS or with a prerecorded or artificial voice are referred to as “robocalls” by the
28   Federal Communications Commission (“FCC”). Encouraging individuals to hold robocallers
                                                –5–
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 7 of 36


 1   accountable on behalf on their fellow Americans, the TCPA provides a private cause of action to
 2   persons who receive such calls. 47 U.S.C. § 227(b)(3).
 3           29.     Rationale: In enacting the TCPA, Congress found “Evidence compiled by the
 4   Congress indicates that residential telephone subscribers consider automated or prerecorded
 5   telephone calls, regardless of the content or the initiator of the message, to be a nuisance and an
 6   invasion of privacy.” Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, 105
 7   Stat. 2394 § 2(10). Congress continued: “Banning such automated or prerecorded telephone calls
 8   to the home, except when the receiving party consents to receiving the call or when such calls are
 9   necessary in an emergency situation affecting the health and safety of the consumer, is the only
10   effective means of protecting telephone consumers from this nuisance and privacy invasion.” Id.
11   § 2(12).
12           30.     The TCPA’s sponsor described unwanted robocalls as “the scourge of modern
13   civilization. They wake us up in the morning; they interrupt our dinner at night; they force the
14   sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.” 137
15   Cong. Rec. 30,821 (1991) (statement of Sen. Hollings).
16           31.     Text Messages: For TCPA purposes and as described herein, a text message is a
17   “call.” Satterfield v. Simon & Schuster, Inc., 569 F.3d 946, 951-52 (9th Cir. 2009).
18           32.     Prior Express Written Consent: The FCC has made clear that “prior express
19   written consent” is required before making telemarketing robocalls to wireless numbers.
20   Specifically, it ordered:
21                   [A] consumer’s written consent to receive telemarketing robocalls must be
22                   signed and be sufficient to show that the consumer: (1) received clear and
23                   conspicuous disclosure of the consequences of providing the requested
24                   consent, i.e., that the consumer will receive future calls that deliver
25                   prerecorded messages by or on behalf of a specific seller; and (2) having
26                   received this information, agrees unambiguously to receive such calls at a
27                   telephone number the consumer designates. In addition, the written
28                   agreement must be obtained without requiring, directly or indirectly, that
                                                –6–
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 8 of 36


 1                  the agreement be executed as a condition of purchasing any good or
 2                  service.
 3   In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 FCC
 4   Rcd. 1830, 1844 ¶ 33 (2012) (footnotes omitted) (internal quotation marks omitted) (“2012 FCC
 5   Order”).
 6          33.     As with most torts, the consent required is that of the alleged victim, not a random
 7   third party. See, e.g., McMillion v. Rash Curtis & Assocs., No. 16-cv-03396-YGR, 2018 U.S.
 8   Dist. LEXIS 17784, at *13 (N.D. Cal. Feb. 2, 2018) (addressing definition of “called party”).
 9          34.     E-SIGN Act-Compliant Signatures Acceptable: The consumer’s signature on the
10   document memorializing prior express written consent need not be in ink. An electronic
11   signature suffices, if it complies with the E-SIGN Act, 15 U.S.C. §§ 7001, et seq. 2012 FCC
12   Order at ¶¶ 33-34.
13          35.     Do Not Call Registry: Additionally, the TCPA outlaws unsolicited telemarketing
14   (robocalls or otherwise) to phone numbers on the National Do Not Call Registry. 47 U.S.C. §
15   227(c); 47 C.F.R. § 64.1200(c)(2). Encouraging individuals to hold telemarketers accountable on
16   behalf on their fellow Americans, the TCPA provides a private cause of action to persons who
17   receive such calls. 47 U.S.C. § 227(c)(5).
18   B.     The Worsening Problem of Robocalls and Spam Texts
19          36.     Unfortunately, the problems Congress identified when it enacted the TCPA have
20   grown only worse in recent years.
21          37.     “Month after month, unwanted [communications], both telemarketing and
22   informational, top the list of consumer complaints received by the [Federal Communications]
23   Commission.” In re Rules and Regulations Implementing the TCPA of 1991, 30 FCC Rcd. 7961,
24   7991 ¶ 1 (2015).
25          38.     “Robocalls and telemarketing calls are currently the number one source of
26   consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016),
27   https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls (statement of FCC
28   Chairman).
                                               –7–
                                   FOURTH AMENDED COMPLAINT
                  Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 9 of 36


 1          39.     “The FTC receives more complaints about unwanted calls than all other
 2   complaints combined.” Comment of the Staff of the Federal Trade Commission’s Bureau of
 3   Consumer Protection, In re Rules and Regulations Implementing the TCPA of 1991, Notice of
 4   Proposed Rulemaking, CG Docket No. 02-278, at p. 2; FCC 16-57 (June 6, 2016), available at
 5   https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-
 6   bureauconsumer-protection-federal-communications-commission-rulesregulations/
 7   160616robocallscomment.pdf.
 8          40.     In 2017, the FTC received 4,501,967 complaints about robocalls, up from
 9   3,401,614 in 2016. Federal Trade Commission, FTC Releases FY 2017 National Do Not Call
10   Registry Data Book and DNC Mini Site (Dec. 18, 2017), https://www.ftc.gov/news-
11   events/pressreleases/2017/12/ftc-releases-fy-2017-national-do-not-call-registry-data-book-dnc.
12          41.     The New York Times recently reported extensively on the surging number of
13   robocall complaints filed by consumers with the FTC and widespread consumer outrage about
14   illegal telemarketing. Tara Siegel Bernard, Yes, It’s Bad. Robocalls, and Their Scams, Are
15   Surging, N.Y. Times (May 6, 2018), https://www.nytimes.com/2018/05/06/your-
16   money/robocalls-riseillegal.html.
17          42.     For every seven million robocalls, there is one federal lawsuit. Compare Herb
18   Weisbaum, It’s Not Just You—Americans Received 30 Billion Robocalls Last Year, NBC News
19   (Jan. 17, 2018), https://www.nbcnews.com/business/consumer/it-s-not-just-you-
20   americansreceived-30-billion-robocalls-n838406 (30.5 billion robocalls); with WebRecon,
21   WebRecon Stats for Dec 2017 & Year in Review (last visited Oct. 29, 2018),
22   https://webrecon.com/webreconstats-for-dec-2017-year-in-review/ (4,392 TCPA complaints).
23   C.     Defendant Freedom
24          43.     Freedom offers debt negotiation and counseling services. It is the largest debt
25   settlement services provider in the country.
26          44.     Through telemarketing contacts with prospective customers, Freedom learns who
27   their creditors are, the amounts owed to each and the nature of the debts.
28

                                               –8–
                                   FOURTH AMENDED COMPLAINT
                  Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 10 of 36


 1           45.    One of Freedom’s marketing strategies involves making telemarketing calls using
 2   artificial or prerecorded voices.
 3           46.    Freedom advertised a job opening in Tempe, Arizona for an “Inside Sales
 4   Representative” to “[r]eceive and work fresh leads daily through outbound and inbound calls,”
 5   requiring “1+ year of call center experience in a high volume, outbound environment.”
 6           47.    Recipients of these outbound calls, including Plaintiffs, did not consent to receive
 7   them.
 8           48.    Freedom’s telemarketing calls were not necessitated by an emergency.
 9           49.    Freedom hired Fluent to place some of its telemarketing calls.
10   D.      Defendant Fluent
11           50.    Fluent runs sweepstakes websites in order to collect contact information of
12   consumers whom it subsequently barrages with SMS and other advertising.
13           51.    Fluent uses materially false and deceptive statements on these websites in order to
14   induce consumers to provide telephone numbers to which Fluent later directs telemarketing.
15           52.    Bots and/or other fraudulent techniques are used to enter some of Fluent’s leads.
16           53.    Hundreds of thousands of the entries on the lists of numbers called for the
17   Freedom campaign produced by Fluent and Drips are either missing name and address data
18   altogether or filled with obviously erroneous entries. For example, the lead lists produced
19   included:
20                  a.      at least 10,323 entries with invalid first names, such as “[FIRSTNAME],”
21   “Euralissa*grrrrrrhvbb;ggfftrrgcb; vv:gggcfxddftrff,” or “blah blah;”
22                  b.      at least 363,792 entries with invalid last names, such as “[BLANK]” and
23   “Biiiiiiiiiiiiiiiillllllllllllkyyyyyyyyyyggggygggyy”);
24                  c.      at least 60,982 entries with invalid street addresses, such as those without
25   any street numbers or street names; and
26                  d.      entries purportedly created months apart repeating the exact same
27   registration information—including street address, typos, misspellings, nonsense characters and
28   the like—but stating a different IP address or different city.
                                                –9–
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 11 of 36


 1             54.     One of Fluent’s marketing strategies involves sending telemarketing text
 2   messages.
 3             55.     One of Fluent’s marketing strategies involves making telemarketing calls using
 4   artificial or prerecorded voices.
 5             56.     Recipients of Fluent’s telemarketing, including Plaintiffs, did not consent to
 6   receive artificial or prerecorded voice calls or texts.
 7             57.     Fluent’s telemarketing calls were not necessitated by an emergency.
 8             58.     Fluent hired Lead Science to place telemarketing calls on Fluent’s and Freedom’s
 9   behalf.
10             59.     The leads obtained by Fluent lack wet-ink signatures.
11             60.     The leads obtained by Fluent lack signatures compliant with the E-SIGN Act
12   inasmuch as the E-SIGN Act requires that, before consenting, the consumer must receive a clear
13   and conspicuous statement that:
14                     a.     informs him of his right to obtain a paper copy of the documents at issue,
15   15 U.S.C. § 7001(c)(B)(i);
16                     b.     informs him that he may withdraw his consent, id. § 7001(c)(B)(i);
17                     c.     states whether the consent applies only to the particular transaction that
18   gave rise to the record at issue or (on the other hand) applies to identified categories of records
19   that may be provided or made available during the course of the parties’ relationship, id. §
20   7001(c)(B)(ii);
21                     d.     tells him how to withdraw consent or update his contact information, id. §
22   7001(c)(B)(iii);
23                     e.     tells him how to get a paper copy of the electronic record and if there will
24   be a charge, id. § 7001(c)(B)(iv); and
25                     f.     states the hardware and software requirements for access to and retention
26   of the electronic records.
27             61.     The leads obtained by Fluent lack signatures compliant with the E-SIGN Act
28   inasmuch as the E-SIGN Act requires:
                                                  – 10 –
                                      FOURTH AMENDED COMPLAINT
                     Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 12 of 36


 1                    a.     The consumer must consent electronically or confirm his electronic
 2   consent in a manner that reasonably demonstrates that he can access information in the electronic
 3   form that will be used to provide the consent. Id. § 7001(c)(C)(ii).
 4                    b.     If, after a consumer’s electronic consent is obtained, a change is made to
 5   the hardware or software requirements for access and retention of the electronic records that
 6   creates a material risk that the consumer will not be able to access the electronic record, he must
 7   be provided with a statement of the revised hardware and software requirements for access to
 8   and retention of the electronic record and must be given the right to withdraw consent without
 9   the imposition of fees. Id. § 7001(c)(D)(i).
10   E.        Defendant Lead Science
11             62.    Lead Science runs SMS telemarketing campaigns for lead generators, such as
12   Fluent.
13             63.    Lead Science’s promotional video encourages lead generators to avoid run-ins
14   with “TELEMARKETING LAWS,” the “TCPA” and the “TELEPHONE CONSUMER
15   PROTECTION ACT” by using Lead Science and its “A.I.”-based telemarketing platform.
16             64.    One of Lead Science’s marketing strategies involves using a dialer operated by
17   Ytel to send artificial voice calls and texts.
18             65.    Lead Science’s contract with Ytel requires Lead Science to comply with the
19   TCPA.
20             66.    One of Lead Science’s marketing strategies involves making telemarketing calls
21   using artificial or prerecorded voices.
22             67.    Lead Science’s contract with Fluent provides that Lead Science may use
23   prerecorded telemarketing.
24             68.    The contract provides that Fluent must obtain prior express written consent to
25   receive automated telemarketing from those people called by Lead Science on Fluent’s behalf,
26   and that the signatures manifesting such consents must comply with the E-SIGN Act.
27             69.    Recipients of Lead Science’s outbound calls, including Plaintiffs, did not consent
28   to receive them.
                                                  – 11 –
                                      FOURTH AMENDED COMPLAINT
                     Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 13 of 36


 1           70.    Lead Science’s telemarketing calls were not necessitated by an emergency.
 2   F.      Plaintiff Berman
 3           71.    Plaintiff Berman resides in Oakland, California.
 4           72.    He is, and at all times mentioned herein was, a “person” as defined by 47 U.S.C. §
 5   153(39).
 6           73.    He is the sole user of a phone number that begins “(510) 326.” All calls to him
 7   referenced herein were to that number.
 8           74.    His phone number is assigned to a cellular telephone service. Calls to it make his
 9   cell phone ring.
10           75.    His phone number has been listed on the National Do Not Call Registry since
11   2003.
12           76.    He never consented to receive phone calls or text messages from Defendants.
13           77.    He never gave his phone number to Defendants.
14           78.    He never did business with Defendants.
15   G.      Defendants’ Unsolicited, Automated Telemarketing to Plaintiff Berman
16           The Spam Texts from (786) 808-4370 by Fluent and Lead Science
17           79.    On December 26, 2017, Plaintiff Berman received a text message from (786) 808-
18   4370.
19           80.    It was sent by or on behalf of Fluent and Lead Science.
20           81.    It said: “Cash Help: Dunk have structured settlement and need cash immediately?
21   Have cash approved in 48 hours or less. Call 7868084370 for info. Text ‘NO’ to remove” [sic].
22           82.    On December 27, 2017, Plaintiff Berman received another text message from
23   (786) 808-4370.
24           83.    It was sent by or on behalf of Fluent and Lead Science.
25           84.    It said: “Have bills piling up? Waiting to settle your case? Find cash from us! If
26   you don’t win your case, you don’t pay us back. Give me a quick call for details.” [sic].
27           85.    On December 27, 2017, Plaintiff Berman received another text message from
28   (786) 808-4370.
                                                – 12 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
              Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 14 of 36


 1            86.     It was sent by or on behalf of Fluent and Lead Science.
 2            87.     It said: “Do you have annuity & need cash ASAP? You may have access to $500-
 3   $100K in your bank account by tomorrow! Give me a quick call soon. Reply no to opt out.”
 4            88.     On December 28, 2017, Plaintiff Berman received another text message from
 5   (786) 808-4370.
 6            89.     It was sent by or on behalf of Fluent and Lead Science.
 7            90.     It said: “Dunk, we have approved cash for the largest number of consumers across
 8   the country. If you want the cash ASAP, don’t wait. Can we schedule a call this morning?”
 9            91.     On December 28, 2017, Plaintiff Berman received another text message from
10   (786) 808-4370.
11            92.     It was sent by or on behalf of Fluent and Lead Science.
12            93.     It said: “Find the most cash for your annuity or structured settlement with us Have
13   the cash you need in 24-48 hours! When is the best time for a quick call?”
14            The Spam Texts from (608) 299-6259 by Fluent and Lead Science
15            94.     On January 5, 2018, Plaintiff Berman received a text message from (608) 299-
16   6259.
17            95.     It was sent by or on behalf of Fluent and Lead Science.
18            96.     It said: “Debt-Help: Do you have debt + would love support? Now’s your
19   opportunity to trim your debt by up to half. Reach out ASAP for your free quote. Write NO to
20   end” [sic] (emphasis added).
21            97.     On January 8, 2018, Plaintiff Berman received another text message from (608)
22   299-6259.
23            98.     It was sent by or on behalf of Fluent and Lead Science.
24            99.     It said: “Take the 1st step to financial freedom & a chance to lessen your balance
25   in 1/2. Ring soon if you owe at least 10K in debt for a no cost quote & the aid you would like.”
26   [sic].
27            100.    On January 8, 2018, Plaintiff Berman received another text message from (608)
28   299-6259.
                                                  – 13 –
                                      FOURTH AMENDED COMPLAINT
                     Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 15 of 36


 1           101.    It was sent by or on behalf of Fluent and Lead Science.
 2           102.    It said: “Now’s your chance to lessen your bill by half & pay a portion of what
 3   you owe. Reach out this afternoon & get a free quote & receive the assistance you need.”
 4           103.    On January 9, 2018, Plaintiff Berman received another text message from (608)
 5   299-6259.
 6           104.    It was sent by or on behalf of Fluent and Lead Science.
 7           105.    It said: “Consumed by collections harassing you for money? Now’s your
 8   opportunity to reduce your balance in half. Pay a portion of the total. Reach out this afternoon.”
 9           106.    On January 10, 2018, Plaintiff Berman received another text message from (608)
10   299-6259.
11           107.    It was sent by or on behalf of Fluent and Lead Science.
12           108.    It said: “Keep collectors from annoying you for bills. Now’s your chance to trim
13   your debt in 1/2. Call ASAP to get a no cost quote + the help you deserve!” [sic].
14           The Spam Texts from (910) 370-4211 by Fluent and Lead Science
15           109.    On January 17, 2018, Plaintiff Berman received a text message from (910) 370-
16   4211.
17           110.    It was sent by or on behalf of Fluent and Lead Science.
18           111.    It said: “SaveMore: You’re qualified for a FREE no risk security system + $100
19   Visa Gift Card Dunk. Call at 9103704211 to claim. Write Stop to stop.” [sic].
20           112.    On January 17, 2018, Plaintiff Berman received another text message from (910)
21   370-4211.
22           113.    It was sent by or on behalf of Fluent and Lead Science.
23           114.    It said: “Interested in a risk FREE home security system and a $100 Visa GC
24   from the best in home security? Call us to learn info! Send no to end” [sic].
25           115.    On January 18, 2018, Plaintiff Berman received another text message from (910)
26   370-4211.
27           116.    It was sent by or on behalf of Fluent and Lead Science.
28

                                                 – 14 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
              Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 16 of 36


 1            117.    It said: “Ensure safety for your home & family through a free of risk security
 2   system + $100 Visa GC. Call in to learn more details!Reply no to quit.” [sic].
 3            118.    On January 18, 2018, Plaintiff Berman received another text message from (910)
 4   370-4211.
 5            119.    It was sent by or on behalf of Fluent and Lead Science.
 6            120.    It said: “Don’t miss your chance at a house security system with no risk + $100
 7   Visa GC, Connect with us now! Write stop to end” [sic].
 8            121.    On January 22, 2018, Plaintiff Berman received another text message from (910)
 9   370-4211.
10            122.    It was sent by or on behalf of Fluent and Lead Science.
11            123.    It said: “Call for details on our home security system + $100 Visa GC. You can
12   easily begin protecting your family and home FREE of risk today! Write Stop to quit.” [sic].
13            The Spam Texts from (404) 600-0537 by Fluent and Lead Science
14            124.    On January 31, 2018, Plaintiff Berman received a text message from (404) 600-
15   0537.
16            125.    It was sent by or on behalf of Fluent and Lead Science.
17            126.    It said: “Òmni Research: You got selected to have the opportunity to win 5K! Call
18   to claim your entry at 4046000537 in the next 24 hrs. Reply no to quit” [sic].
19            127.    On January 31, 2018, Plaintiff Berman received another text message from (404)
20   600-0537.
21            128.    It was sent by or on behalf of Fluent and Lead Science.
22            129.    It said: “GREAT NEWS Dunk! You could join the plenty of others who have won
23   $5,000 through us. Call right away to hear how you’ll be able to win! Respond ‘NO’ to stop.”
24   [sic].
25            The Spam Text from (409) 359-9066 by Defendants
26            130.    On February 14, 2018, Plaintiff Berman received a text message from (409) 359-
27   9066.
28            131.    It was sent by or on behalf of Defendants.
                                                  – 15 –
                                      FOURTH AMENDED COMPLAINT
                     Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 17 of 36


 1          132.     It said: “Dêbt-Help: Need to pay $10,000 + in cc bills? We’re here to help! We
 2   can save you a ton of money. Call for more info. Respond no to quit” [sic] (emphasis added).
 3          The Prerecorded Robocall from (409) 359-9066 by Defendants
 4          133.     Within an hour of receiving the text message from (409) 359-9066, Plaintiff
 5   Berman received a phone call from the same caller ID, (409) 359-9066.
 6          134.     He answered. No human promptly came on the other end of the line. Instead, an
 7   artificial or prerecorded voice told Plaintiff Berman to press “1” for more information. He did. A
 8   male with an American accent promptly came on the line.
 9          135.     The male claimed to be calling from a company with two names: “Freedom
10   Financial Network” and “Freedom Debt Relief.”
11          136.     The purpose of the call was to advertise the goods or services of Defendants.
12          137.     The male stated that he was in Phoenix, Arizona.
13          138.     Freedom operates a call center in Arizona.
14          139.     The male claimed that Freedom would “negotiate the debt down with the
15   creditors, and it ends up saving a lot of money. So, say you had $10,000 of debt, you get out for
16   $5,000, call it a day and you’re good to go. You know, sometimes it’s even less than that.”
17          140.     Plaintiff Berman asked who had been texting him about debt relief. The male
18   replied non-specifically: “It must have been, it might have been, through whatever that marketing
19   campaign, because I don’t know if we usually send out texts . . . .”
20          141.     Plaintiff Berman said that, should he wish to learn any more about Defendants’
21   products, he preferred to call them—rather than vice versa. That is, he politely asked Freedom to
22   stop calling him.
23          142.     In response, the male stated that his name was “Cody Longfield” and that his
24   phone number was (602) 732-3664.
25   H.     Plaintiff Hernandez
26          143.     Plaintiff Hernandez is the sole user and payor of a phone number that begins
27   “(831) 320.”
28

                                                 – 16 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 18 of 36


 1           144.    Fluent’s records, reflect the (831) 320 phone number, Plaintiff Hernandez’s name,
 2   Plaintiff Hernandez’s email address, and Plaintiff Hernandez’s address.
 3           145.    Plaintiff Hernandez has used the (831) 320 number for approximately 20 years or
 4   more.
 5           146.    At all relevant times, Plaintiff Hernandez’s phone number has been assigned to a
 6   cellular telephone service.
 7           147.    Plaintiff Hernandez frequently receives unwanted telemarketing calls but answers
 8   her phone in case a non-telemarketer is trying to reach her.
 9           148.    Plaintiff Hernandez underwent major surgery and in connection with the surgery
10   was hospitalized for nine days. During that time, her phone constantly rang. She answered the
11   calls, believing that they might be loved ones checking in on her or other legitimate callers.
12   Frequently, however, it was an unwanted robocaller on the other end. Her nurses found the
13   constant calls such a problem that they insisted Plaintiff Hernandez turn off her phone. She did.
14   Her family was forced to try to reach her through the hospital’s main phone number instead.
15           149.    Between March 5 and 7, 2018, Fluent and Drips knowingly and willfully used
16   Ytel’s dialing system to place two prerecord-voice calls and four text messages to Plaintiff
17   Hernandez’s (831) 320 cellular telephone number. Fluent and Drips placed the calls with
18   Freedom’s permission in order to sell Freedom’s products.
19           150.    Fluent and Drips placed the calls using an artificial or prerecorded voice.
20           151.    Plaintiff Hernandez did not provide prior express written consent to receive calls
21   from Defendants on the (831) 320 cellular telephone number.
22   I.      Plaintiff Russell
23           152.    Plaintiff Russell was the sole user and payor of a phone number that begins “(918)
24   914.”
25           153.    During the relevant time period, Plaintiff Russell’s (918) 914 phone number was
26   assigned to a cellular telephone service.
27           154.    Plaintiff Russell visited a Fluent website. She entered the (918) 914 telephone
28   number onto a form on the website.
                                                 – 17 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 19 of 36


 1           155.    Plaintiff Russell did not believe, and had no reason to believe, that by providing
 2   her number, she would receive, or was agreeing to receive, telemarketing robocalls from or on
 3   behalf of Freedom Debt.
 4           156.    The Fluent website Plaintiff Russell visited did not disclose to her that Freedom
 5   Debt was the specific seller on whose behalf automated telemarketing would be sent.
 6           157.    The Fluent website Plaintiff Russell visited did not disclose to her Freedom Debt
 7   was a specific seller on whose behalf automated telemarketing would be sent.
 8           158.    The Fluent website Plaintiff Russell visited did not disclose to her that any
 9   affiliate of Freedom was the specific seller on whose behalf automated telemarketing would be
10   sent.
11           159.    The Fluent website Plaintiff Russell visited did not disclose to her that any
12   affiliate of Freedom was a specific seller on whose behalf automated telemarketing would be
13   sent.
14           160.    The webpage by which Fluent obtained Plaintiff Russell’s contact information
15   was cluttered, confusing, and misleading.
16           161.    Following her visit to the Fluent website, Plaintiff Russell was inundated with
17   telemarketing robocalls. Her routine practice was to instruct the caller not to call again, but the
18   calls kept coming. Her phone was so besieged by Fluent’s telemarketing, to the point of being
19   unusable, that she went to the significant trouble of changing the number.
20           162.    Between February 7 and 14, 2018, Fluent and Drips knowingly and willfully used
21   Ytel’s dialing system to place three prerecord-voice calls and five text messages to Plaintiff
22   Russell’s (918) 914 cellular telephone number. Fluent and Drips placed the calls with Freedom’s
23   permission in order to sell Freedom’s products.
24           163.    Plaintiff Russell did not provide prior express written consent to receive
25   telemarketing calls from Fluent and Drips, selling Freedom’s products.
26           164.    Plaintiff Russell’s experience was typical of that of other website visitors. Fluent
27   deliberately deceived Plaintiff Russell with a bait-and-switch, promising her a free reward but
28   then burdening her with unexpected and unwanted email spam, telemarketing robocalls, and
                                                 – 18 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 20 of 36


 1   recurring charges. When it came time to claim her reward, a $1,000 Walmart gift card, Fluent
 2   subjected Ms. Russell to a series of hurdles meant to discourage her from getting what Fluent had
 3   promised her. For instance, Fluent demanded a “notarized, signed claim form AND supporting
 4   proof of residence and valid ID.”
 5   J.     Fraudulent Marketing Promoting Fluent
 6          165.    One of the thousands of other people who received nonconsensual telemarketing
 7   from or on behalf of Fluent is Patrick Bonano.
 8          166.    For example, on June 25, 2018, Mr. Bonano received a text message from 978-30.
 9          167.    It was sent by or on behalf of Fluent.
10          168.    It said: “Melissa, lenders are awaiting your response, your response is appreciated
11   http://1hom.ltd/l1jF8H30431650 Text STOP to quit.”
12          169.    Mr. Bonano texted back: “STOP.”
13          170.    On June 25, 2018, Mr. Bonano received another text message from 978-30.
14          171.    It was sent by or on behalf of Fluent.
15          172.    It said: “Rto-Listings: You have opted out and will no longer receive messages
16   from this service. Reply RESUME to subscribe. newsletterteam@rto-listings.com.” [sic].
17          173.    Mr. Bonano was puzzled. Why should he have to “opt out” of something he had
18   never opted in to?, he wondered. Why would even a spammer think it legal or ethical to respond
19   to an opt-out instruction with instructions for how to subscribe?, he wondered.
20          174.    He became more puzzled still when the texts to Melissa did not abate. Indeed, he
21   received at least 6 more such spam messages.
22          175.    One of them came on July 3, 2018, when Mr. Bonano received a text message
23   from (669) 205-9439.
24          176.    It was sent by or on behalf of Fluent.
25          177.    It said: “Thank you Melissa, here you go a little something just for you
26   plibus.com” [sic].
27          178.    That URL resolves to a webpage a screenshot of which follows:
28

                                                – 19 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 21 of 36


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27          179.    The webpage is designed to appear to be, and thereby invoke the trust and social

28   proof of, a wildly popular Facebook page. Thus, it cribs Facebook’s trademark blue top-

                                                – 20 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 22 of 36


 1   navigation bar, user interaction types (“Like,” “Comment,” and “Share”), thumbs-up artwork,
 2   “like” counters, comment counter, and blue-and-black-text-on-gray-background-on-white-
 3   backdrop commenting interface, among other features.
 4             180.    In fact, the webpage is not a Facebook page. It is a fake. Unlike on Facebook, it is
 5   impossible to click to see who its supposed 12,068 fans are. Unlike on Facebook, it is impossible
 6   to click on the name or profile picture of the supposed commenters. Unlike on Facebook, it is
 7   impossible to click to read the rest of the supposed 4,356 comments.
 8             181.    The webpage tells the visitor: “Well Done! Congrats You Are Today’s Lucky
 9   User!” [sic]. Immediately below, it shows a wheel of prizes: personal electronics (apparently
10   from Apple) and a $1,000 Visa gift card. Lest the visitor have any doubt, the first “comment,”
11   from “Monika Meyer,” reads: “Holy god! I actually got a $1000 Visa gift card!! My friends are
12   gonna freak!” [sic]. Lest the visitor dismiss Ms. Meyer’s comment as outdated, it is timestamped
13   “4 minutes ago” (regardless of when the visitor visits).
14             182.    In fact, the visitor has not won a $1000 Visa gift card or any of the other valuable
15   prizes.
16             183.    The webpage contains testimonials that RewardZone USA (Fluent’s alias and
17   subsidiary) is not a scam. There’s “Mark Hughes,” attesting: “Hello everyone, you have to give
18   rewardzoneusa.com a try. My name is Mark. I am a software engineer by trade. So I am up on
19   what is an internet scam and what isn’t. Trust me, rewardzoneusa.com IS NOT A SCAM” [sic].
20   And “Troy Grainger,” who extols that the company “restore one’s faith in human nature!!” [sic].
21   And the sober endorsement of “Zachary Lassen”: “This note is to confirm the legitimacy of the
22   Reward Zone USA Program.”
23             184.    In fact, these endorsements of RewardZone USA are frauds.
24             185.    When the visitor spins the wheel, the webpage tells him to spin again. When he
25   does, the webpage tells him: “Congratulations! Your reward: $1000 Visa Giftcard. Please follow
26   the instructions to get your reward!”
27             186.    In fact, the visitor has not won a $1000 Visa gift card, and neither Fluent nor
28   anyone else has any intention of giving the visitor a $1000 Visa gift card.
                                                   – 21 –
                                       FOURTH AMENDED COMPLAINT
                      Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 23 of 36


 1   K.     The Nuisance Created by Defendants’ Automated Telemarketing
 2          187.     Before directing their automated telemarketing to Plaintiffs, Defendants never did
 3   anything to confirm that Plaintiffs had opted in to their telemarketing.
 4          188.     It is Fluent’s practice to pay “affiliates,” or third parties, for leads. It is,
 5   unfortunately, common that such arrangements financially incentivize the affiliate to submit
 6   leads even though the information in the lead is not accurate.
 7          189.     The telemarketing alleged herein:
 8                   a.      invaded Plaintiffs’ privacy and solitude;
 9                   b.      interrupted Plaintiffs’ train of thought;
10                   c.      wasted Plaintiffs’ time;
11                   d.      annoyed Plaintiffs;
12                   e.      harassed Plaintiffs;
13                   f.      consumed the battery life of Plaintiffs’ cellular telephones; and
14                   g.      caused Plaintiff Berman to fear information about him had been
15                           stolen and he was a target for a financial fraud.
16             V.     FREEDOM’S LIABILITY FOR THE TELEMARKETING CALLS
17   A.     Vicarious Liability Under the TCPA
18          190.     Each of Freedom Financial and Freedom Debt is a “person,” as defined by 47
19   U.S.C. § 153(39).
20          191.     The FCC is tasked with promulgating rules and orders related to enforcement of
21   the TCPA. 47 U.S.C. § 227(b)(2).
22          192.     The FCC has explained that its “rules generally establish that the party on whose
23   behalf a solicitation is made bears ultimate responsibility for any violations.” In re Rules &
24   Regulations Implementing the Telephone Consumer Protection Act of 1991, 10 FCC Rcd.
25   12391, 12397 ¶ 13 (1995).
26          193.     The FCC reiterated that a company on whose behalf a telephone call is made
27   bears the responsibility for any violations. In re Rules and Regulations Implementing the
28   Telephone Consumer Protection Act of 1991, 23 FCC Rcd. 559, 565 ¶ 10 (2008) (recognizing
                                                 – 22 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 24 of 36


 1   “on behalf of” liability in the context of an autodialed or prerecorded message call sent to a
 2   consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).
 3          194.    The FCC confirmed this principle in a declaratory ruling holding that sellers such
 4   as Freedom may not avoid liability by outsourcing telemarketing:
 5                  [A]llowing the seller to avoid potential liability by outsourcing its
 6                  telemarketing activities to unsupervised third parties would leave
 7                  consumers in many cases without an effective remedy for
 8                  telemarketing intrusions. This would particularly be so if the
 9                  telemarketers were judgment proof, unidentifiable, or located
10                  outside the United States, as is often the case. Even where third party
11                  telemarketers are identifiable, solvent, and amenable to judgment
12                  limiting liability to the telemarketer that physically places the call
13                  would make enforcement in many cases substantially more
14                  expensive and less efficient, since consumers (or law enforcement
15                  agencies) would be required to sue each marketer separately in order
16                  to obtain effective relief. As the FTC noted, because sellers may
17                  have thousands of independent marketers, suing one or a few of
18                  them is unlikely to make a substantive difference for consumer
19                  privacy.
20   In re DISH Network, LLC, 28 FCC Rcd. 6574, 6588 ¶ 37 (2013) (footnote omitted) (alteration
21   marks and internal quotation marks omitted).
22          195.    More specifically, Dish held that, even in the absence of evidence of a formal
23   contractual relationship between the seller and the telemarketer, a seller is liable for
24   telemarketing calls if the telemarketer “has apparent (if not actual) authority” to make the calls.
25   Id. at 6586 ¶ 34.
26          196.    The ruling rejected a narrow view of TCPA liability, including the assertion that a
27   seller’s liability requires a finding of formal agency and immediate direction and control over the
28   third party who placed the telemarketing call. Id. at 6587 ¶ 36 & n.107.
                                                – 23 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 25 of 36


 1           197.     To the contrary, the FCC—armed with extensive data about robocallers and
 2   Americans’ complaints about them—determined that vicarious liability is essential to serve the
 3   TCPA’s remedial purpose of protecting Americans from “unwanted telemarketing invasions.” Id.
 4   at 6587 ¶ 36.
 5           198.     Vicarious liability is important because reputable, traceable, and solvent
 6   companies that benefit from illegal telemarketing are “in the best position to monitor and police
 7   TCPA compliance by third-party telemarketers.” Id. at 6588 ¶ 37.
 8           199.     The Ninth Circuit follows the FCC’s approach to vicarious liability under the
 9   TCPA. Kristensen v. Credit Payment Servs. Inc., 879 F.3d 1010, 1014 (9th Cir. 2018).
10   B.      The Freedom-Fluent Relationship
11           200.     Freedom is legally responsible for ensuring that the company that made the
12   telemarketing calls for it complied with the TCPA.
13           201.     Drips, at the direction of Fluent and Freedom, telemarketed to Plaintiffs.
14           202.     Freedom knowingly and actively accepted business that originated through illegal
15   telemarketing.
16           203.     By hiring a company to make calls on its behalf, Freedom “manifest[ed] assent to
17   another person . . . that the agent shall act on the principal’s behalf and subject to the principal’s
18   control” as described in the Restatement (Third) of Agency (“Restatement”).
19           204.     Moreover, Freedom maintained interim control over the actions of the party that
20   made the call.
21           205.     For example, Freedom had absolute control over whether, and under what
22   circumstances, it would accept a customer.
23           206.     Freedom reviewed, edited, and authorized prerecorded telemarketing by Fluent on
24   Freedom’s behalf.
25           207.     In another example, Fluent provided to Freedom a draft of a prerecorded
26   telemarketing message to be deployed by Fluent pitching Freedom by name.
27           208.     Furthermore, Freedom had day-to-day control over the actions of the party that
28   made the calls, including the ability to prohibit it from using prerecorded messages to contact
                                                  – 24 –
                                      FOURTH AMENDED COMPLAINT
                     Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
              Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 26 of 36


 1   potential customers of Freedom and the ability to require it to respect the National Do Not Call
 2   Registry.
 3            209.    Freedom also gave interim instructions to the company that made the calls by
 4   providing the parameters of customers, volume of calling and contracts it would purchase.
 5            210.    In this litigation, Freedom caused Fluent to produce a technically detailed
 6   affidavit admitting Fluent’s involvement in the telemarketing at issue. Freedom vouched for the
 7   affidavit, Dkt. No. 16 at 2-4, CM/ECF pp. 10-12 (repeatedly citing it with approval) and attached
 8   it to a motion filed with the Court, Dkt. No. 16-1.
 9            211.    The affidavit admits that Freedom Financial is a “partner” of Fluent and that
10   Fluent holds Freedom Financial out to the public as its partner. Dkt. No. 16-1 at 4 ¶ 12, CM/ECF
11   p. 5.
12            212.    The affidavit implies that Fluent “promot[es] service offerings from Freedom
13   Financial.” Id. at 5 ¶ 13, CM/ECF p. 6.
14            213.    Freedom donned Fluent with apparent authority to make the telemarketing calls at
15   issue.
16            214.    Apparent authority turns on whether a third party believes the principal authorized
17   its agent to act and the belief is “traceable” to a manifestation of the principal. Restatement §
18   2.03 cmt. c.
19            215.    “[A]pparent authority can arise in multiple ways, and does not require that ‘a
20   principal’s manifestation must be directed to a specific third party in a communication made
21   directly to that person.’” Dish, 28 FCC Rcd. at 6586 ¶ 34 n.102 (quoting Restatement § 2.03 cmt.
22   c).
23            216.    A principal can make a manifestation “by directing an agent to make statements
24   to third parties or directing or designating an agent to perform acts or conduct negotiations,
25   placing an agent in a position within an organization, or placing an agent in charge of a
26   transaction or situation.” Restatement § 2.03 cmt. c.
27            217.    Here, Freedom designated Fluent to generate leads for it, which Fluent did via
28   automated telemarketing conducted in concert with its agents, including Drips.
                                                  – 25 –
                                      FOURTH AMENDED COMPLAINT
                     Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 27 of 36


 1           218.    Over time, Freedom sought to distance itself from Fluent’s telemarketing on its
 2   behalf. Initially, Freedom and Fluent contemplated telemarketing scripts referencing Freedom by
 3   name. To protect its brand from consumer outrage at Fluent’s telemarketing and from false-
 4   advertising claims, Freedom eventually had the language changed to remove any reference to
 5   Freedom. For instance, with respect to one script, Freedom wrote to Fluent: “We don’t usually
 6   say half your debt, but since the message is from DebtHelp [rather than “Freedom”], let’s test it
 7   out.”
 8           219.    Only well after the filing of this litigation did Freedom finally terminate Fluent.
 9           220.    The FCC held that called parties may obtain “evidence of these kinds of
10   relationships . . . through discovery, if they are not independently privy to such information.”
11   Dish, 28 FCC Rcd. at 6592-93 ¶ 46. Moreover, evidence of circumstances pointing to apparent
12   authority on behalf of the telemarketer “should be sufficient to place upon the seller the burden
13   of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer
14   was acting as the seller’s authorized agent.” Id. at 6593 ¶ 46.
15   C.      Freedom’s Knowledge of Fluent’s Dubious Tactics
16           221.    Fluent has been on the receiving end of TCPA complaints and lawsuits since long
17   before Freedom retained it.
18           222.    Fluent pitched Freedom on a “call carousel,” touting: “these companies generate
19   millions of calls/day through tactics such as buying misdials, running sweepstakes promotions,
20   etc.” FREE-394.
21           223.    Since early 2017, Freedom knew that only 0.5% of leads from Fluent were
22   qualified, compared to Freedom’s internal benchmark of 8-10%. FREEDOM_315-16. That is,
23   out of every 200 people sent by Fluent to Freedom (let alone out of the much greater number of
24   people spammed by Fluent on Freedom’s behalf but never transferred as leads to Freedom), only
25   one is a valid candidate for Freedom’s products. That’s twenty times worse than Freedom’s own
26   internal standard.
27           224.    But it took more than a year after the “0.5%” revelation, and two months after
28   Freedom was served with process in this lawsuit, for Freedom’s Senior Director of Sales
                                                 – 26 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 28 of 36


 1   Operations to email 25 Freedom employees and a sales manager listserv, stating: “Some of you
 2   and many of your DCs have bubbled up feedback regarding consumers unhappy with receiving
 3   texts from lead generator Fluent.”
 4          225.      Similarly, regarding Fluent’s telemarketing on its behalf, Freedom admitted to its
 5   salespeople: “Consumers feel we have reached out to them and not the other way around.”
 6          226.      On the heels of the commencement of this case, two more TCPA suits were filed
 7   against Freedom. Dkt. No. 55 at 13.
 8   D.     Defendants’ Conduct Towards Plaintiff Berman during This Litigation Is
            Consistent with Their Knowledge of the Illegitimacy of Their Leads
 9
            227.      Freedom and Fluent thought it fine to robocall Plaintiff Berman merely because
10
     one “Dunk Loka” living at “Grand Street” (no house number), Dkt. No. 16-1 at 2, was
11
     purportedly “in possession of,” Dkt. No 37 at 12, 13, his phone number and provided it to them.
12
     But only Santa Claus can receive mail without a house number, and “possessing” a phone
13
     number (unlike, say, a password—large yellow books of which are not dropped on every
14
     doorstep) is zero evidence of authority to subject the owner of the phone number to robocalls and
15
     telemarketing.
16
            228.      As he has stated under oath, Plaintiff Berman did not submit the lead, visit the
17
     website in question, identify himself as “Dunk Loka,” use the email address associated with the
18
     lead (buffola@gmail.com), or live at “Grand Street,” nor has he ever claimed to have done any
19
     of those things or authorized anyone to make such representations on his behalf. Dkt. Nos. 17-1;
20
     29.
21
            229.      During this litigation, Freedom filed a motion to compel arbitration, which ran 48
22
     pages including attachments and explained how Freedom and Fluent obtained Plaintiff Berman’s
23
     phone number. Dkt. No. 16. Among those 48 pages were narrowly framed, partial screenshots of
24
     the page(s) bearing the lead generation form and submission button, as well as three screenshots
25
     of coding terminals, but, interestingly, no screenshots of the rest of the sweepstakes website that
26
     purportedly induced a person to provide so much personal information. Dkt. No. 16-1. The URL
27
     in question has been taken down.
28

                                                – 27 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 29 of 36


 1           230.    On or before August 24, 2018, Google produced to Defendants a subpoena
 2   response including over 100 pages of email metadata about buffola@gmail.com. Nowhere in any
 3   of these documents is anything indicating that Plaintiff Berman is an owner or user of
 4   buffola@gmail.com. To the contrary, Google’s subpoena response states:
 5                   Name: ola bello
 6                   e-Mail: buffola@googlemail.com
 7                   Created on: 2007/02/19-21:59:20-UTC
 8                   Terms of Service IP: 82.10.192.86, on 2007/02/19-21:59:19-UTC
 9                   Google Account ID: 742075131625
10   The email address was created more than decade ago from an IP address in Hartlepool, United
11   Kingdom.
12           231.    Nevertheless, and in spite of all the other evidence to the contrary, on September
13   6, 2018, Defendants filed a letter with the Court still claiming that Plaintiff Berman had
14   submitted the lead. Dkt. No. 60 at 1. This exemplifies Defendants’ willful blindness about the
15   invalidity of their leads.
16                                 VI.     CLASS ACTION ALLEGATIONS
17           232.    Pursuant to Federal Rules of Civil Procedure 23(b)(2) and (b)(3), Plaintiffs bring
18   this case on behalf of the following Classes.
19                                       Cellular Telephone Visitor Class
20                   Every person in the United States (1) to whom Defendants placed a
21                   call,   (2)    to     a   cellular   telephone   number    listed   in
22                   LEADSCIENCE_677, (3) using an artificial or prerecorded voice,
23                   (4) in order to sell Freedom’s products, (5) between May 17, 2017,
24                   and April 17, 2018, (6) after the person had entered the phone
25                   number on a Fluent website.
26                                       Cellular Telephone Non-Visitor Class
27                   Every person in the United States (1) to whom Defendants placed a
28                   call or sent a text message, (2) to a cellular telephone number listed

                                                 – 28 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 30 of 36


 1                    in LEADSCIENCE_677, (3) using an artificial or prerecorded
 2                    voice, (4) in order to sell Freedom’s products, (5) between May 17,
 3                    2017, and April 17, 2018, (6) but who hadn’t entered the phone
 4                    number on a Fluent website before the date of the call.1
 5                                    DNC Non-Visitor Class
 6                    Every person in the United States (1) to whom Defendants placed a
 7                    call or sent a text message, (2) in order to market Freedom’s
 8                    products, (3) between May 17, 2017, and April 17, 2018 (4) to a
 9                    residential telephone number listed in LEADSCIENCE_677, (5)
10                    which telephone number was listed on the NDNCR for at least
11                    31days before at least two of such communications in a 12-month
12                    period, (6) but who hadn’t entered the phone number on a Fluent
13                    website before the date of the calls.
14          233.      Exclusions: Excluded from the Classes are Defendants, any entity in which
15   Defendants (or any of them) have a controlling interest or that has a controlling interest in
16   Defendants (or any of them), Defendants’ legal representatives, assignees, and successors, the
17   judges to whom this case is assigned and the employees and immediate family members of all of
18   the foregoing.
19          234.      Numerosity: The Classes are so numerous that joinder of all their members is
20   impracticable. Each Class has at least 40 members.
21          235.      Freedom is the largest debt settlor in the United States.
22          236.      Fluent is publicly traded.
23          237.      Sending a robotext or placing a robocall costs less than one cent, so Defendants
24   could afford to do so at massive scale.
25          238.      Fluent telemarkets to 720,000 mobile phones daily.
26          239.      In just three days, Fluent sent Freedom 1981 leads.
27

28
     1
      The Cellular Telephone Visitor Class and the Cellular Telephone Non-Visitor Class are referred
     to in this Fourth Amended Complaint as the “Cellular Telephone Classes.
                                                 – 29 –
                                     FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
            Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 31 of 36


 1             240.    For Fluent and Freedom, Drips called at least 730,274 unique telephone numbers
 2   as part of the campaign that called Plaintiffs.
 3             241.    On information and belief, more than 40 of those 730,274 phone numbers were
 4   cellular.
 5             242.    On information and belief, more than 40 of those 730,274 phone numbers were on
 6   the NDNCR for at least 31 days before at least two of such communications in a 12-month
 7   period.
 8             243.    Commonality: There are many questions of law and fact common to Plaintiffs and
 9   members of the Classes. Indeed, the very feature that makes Defendants’ conduct so annoying—
10   its automated nature—makes this dispute amenable to classwide resolution. These common
11   questions of law and fact include, but are not limited to, the following:
12                     a.     What the relationships among Defendants are;
13                     b.     Whether the voice referenced above was artificial or prerecorded (or,
14   instead, a live person who sounds robotic and asks people to press buttons);
15                     c.     Whether Defendants’ desire to sell debt-negotiation services constitutes an
16   “emergency” within the meaning of the TCPA;
17                     d.     Whether Defendants had a pattern and practice of telemarketing to
18   numbers on the National Do Not Call Registry;
19                     e.     Whether Fluent, despite its “state-of-the-art” platform and “well-trained
20   and well-qualified” professionals, had a pattern and practice of knowingly telemarketing to
21   phone numbers obtained from leads that were deficient on their face, for instance, that lacked a
22   first name, lacked a last name, lacked any letter in the street address or lacked any number in the
23   street address;
24                     f.     Whether Freedom knew Fluent’s leads were invalid;
25                     g.     Whether Drips knew Fluent’s leads were invalid;
26                     h.     Whether Fluent knew its affiliates’ leads were invalid; and
27                     i.     Whether Defendants’ violations were knowing or willful.
28

                                                   – 30 –
                                       FOURTH AMENDED COMPLAINT
                      Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 32 of 36


 1          244.    Typicality: Plaintiffs’ claims are typical of those of the Classes that they
 2   respectively represent. Plaintiff Russell and Plaintiff Hernandez’s claims are typical of the
 3   Cellular Telephone Visitor Class because they arise out of the same course of conduct by
 4   Defendants and are based on the same legal and remedial theories. Plaintiff Berman’s claims are
 5   typical of the Cellular Telephone Non-Visitor Class and the DNC Non-Visitor Class because his
 6   claims arise out of the same course of conduct by Defendants and are based on the same legal
 7   and remedial theories.
 8          245.    Adequacy: Plaintiffs will fairly and adequately protect the interests of the Classes.
 9   Plaintiffs have retained competent and capable counsel experienced in TCPA class action
10   litigation. Plaintiffs and their counsel are committed to prosecuting this action vigorously on
11   behalf of the Classes and have the financial resources to do so. Neither Plaintiffs nor their
12   counsel have interests contrary to or conflicting with those of the proposed Classes.
13          246.    Superiority: The common issues arising from this conduct that affect Plaintiffs
14   and members of the Classes predominate over any individual issues, making a class action the
15   superior means of resolution. Adjudication of these common issues in a single action has
16   important advantages, including judicial economy, efficiency for Class members and classwide
17   res judicata for Defendants. Classwide relief is essential to compel Defendants to comply with
18   the TCPA.
19                  a.        Control: The interest of individual members of the Classes in individually
20   controlling the prosecution of separate claims against Defendants is small because the damages
21   in an individual action ($500 to $1,500 per violation) are dwarfed by the cost of prosecution.
22                  b.        Litigation: Plaintiffs are not aware of any pending TCPA litigation
23   between Class members and Defendants predating the filing of this case.
24                  c.        Forum: The forum is a desirable, efficient location in which to resolve the
25   dispute because Plaintiffs Berman and Hernandez live in the District and Freedom is
26   headquartered in it.
27                  d.        Difficulties: No significant difficulty is anticipated in the management of
28   this case as a class action. Management of these claims is likely to present significantly fewer
                                                – 31 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 33 of 36


 1   difficulties than are presented in many class actions because the calls at issue are automated (and
 2   thus uniform) and because the TCPA articulates bright-line standards for liability and damages.
 3              247.        Appropriateness: Defendants have acted on grounds generally applicable
 4   to the Classes, thereby making final injunctive relief and corresponding declaratory relief with
 5   respect to the Classes appropriate on a classwide basis.
 6                             VII. FIRST CLAIM FOR RELIEF
     (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(b)(1)—Robocalling)
 7                    On Behalf of Plaintiffs and the Cellular Telephone Classes
 8                                     Against All Defendants
            248.    Plaintiffs reallege and incorporate by reference each and every allegation set forth
 9
     in the preceding paragraphs.
10
            249.    Defendants and/or their affiliates or agents violated the TCPA, 47 U.S.C. §
11
     227(b)(1), by placing non-emergency calls to the cellular telephone numbers of Plaintiffs and
12
     members of the Cellular Telephone Classes using an artificial or prerecorded voice without prior
13
     express written consent.
14
            250.    Plaintiffs and members of that Cellular Telephone Classes are entitled to an award
15
     of $500 in damages for each such violation. 47 U.S.C. § 227(b)(3)(B).
16
            251.    Plaintiffs and members of the Cellular Telephone Classes are also entitled to and
17
     do seek an injunction prohibiting Defendants and/or their affiliates and agents from violating the
18
     TCPA, 47 U.S.C. § 227(b)(1), by placing non-emergency calls to any cellular telephone number
19
     using an artificial or prerecorded voice without prior express written consent.
20
                           VIII. SECOND CLAIM FOR RELIEF
21
     (Knowing and/or Willful Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
22                                   227(b)(1)—Robocalling)
                   On Behalf of Plaintiffs and the Cellular Telephone Classes
23                                    Against All Defendants
24          252.    Plaintiffs reallege and incorporate by reference each and every allegation set forth

25   in the preceding paragraphs.

26          253.    Defendants and/or their affiliates or agents knowingly and/or willfully violated

27 the TCPA, 47 U.S.C. § 227(b)(1), by placing non-emergency calls to the cellular telephone

28

                                                – 32 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
             Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 34 of 36


 1 numbers of Plaintiffs and members of the Cellular Telephone Classes using an artificial or

 2 prerecorded voice without prior express written consent.

 3           254.    Plaintiffs and members of the Cellular Telephone Classes are entitled to an award
 4 of up to $1,500 in damages for each such knowing and/or willful violation. 47 U.S.C. §

 5 227(b)(3).

 6                              IX.     THIRD CLAIM FOR RELIEF
     (Violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227(c)—Telemarketing)
 7                   On Behalf of Plaintiff Berman and the DNC Non-Visitor Class
 8                                      Against All Defendants
             255.    Plaintiffs reallege and incorporate by reference each and every allegation set forth
 9
     in the preceding paragraphs.
10
             256.    Defendants and/or their affiliates or agents violated the TCPA, 47 U.S.C. §
11
     227(c); 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls (including text
12
     messages) to the residential telephone numbers of Plaintiff Berman and members of the DNC
13
     Non-Visitor Class even though those numbers had been listed on the NDNCR for at least 31
14
     days.
15
             257.    Plaintiff Berman and members of the DNC Non-Visitor Class seek an award of
16
     $500 in damages for each such violation. 47 U.S.C. § 227(c)(5)(B).
17
             258.    Plaintiff and members of the DNC Non-Visitor Class are also entitled to and do
18
     seek an injunction prohibiting Defendants and/or their affiliates and agents from violating the
19
     TCPA, 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing calls
20
     (including text messages) to any telephone numbers listed on the NDNCR for at least 31 days.
21
                              X.    FOURTH CLAIM FOR RELIEF
22
     (Knowing and/or Willful Violations of the Telephone Consumer Protection Act, 47 U.S.C. §
23                                   227(c)—Telemarketing)
                 On Behalf of Plaintiff Berman and the DNC Non-Visitor Class
24                                    Against All Defendants
25           259.    Plaintiffs reallege and incorporate by reference each and every allegation set forth

26   in the preceding paragraphs.

27           260.    Defendants and/or their affiliates or agents knowingly and/or willfully violated

28   the TCPA, 47 U.S.C. § 227(c); 47 C.F.R. § 64.1200(c)(2), by placing unsolicited telemarketing

                                                 – 33 –
                                     FOURTH AMENDED COMPLAINT
                    Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
           Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 35 of 36


 1   calls (including text messages) to the telephone numbers of Plaintiff Berman and members of the
 2   DNC Non-Visitor Class even though those numbers had been listed on the NDNCR for at least
 3   31 days.
 4          261.    Plaintiff Berman and members of the DNC Non-Visitor Class are entitled to and
 5   seek an award of up to $1,500 in damages for each such violation. 47 U.S.C. § 227(c)(5).
 6                                      XI.     PRAYER FOR RELIEF
 7               WHEREFORE, Plaintiffs, on their own behalf and on behalf of all members of the
 8   Classes, pray for judgment against Defendants as follows:
 9          A.      Certification of the proposed Classes;
10          B.      Appointment of Plaintiffs as representatives of the Classes;
11          C.      Appointment of the undersigned counsel as counsel for the Classes;
12          D.      A declaration that actions complained of herein violate the TCPA;
13          E.      An order enjoining Defendants and their affiliates, agents and related entities from
14   engaging in the unlawful conduct set forth herein;
15          F.      An award to Plaintiffs and the Classes of damages, as allowed by law;
16          G.      An award to Plaintiffs and the Classes of costs and attorneys’ fees, as allowed by
17   law, equity and/or California Code of Civil Procedure section 1021.5;
18          H.      Leave to amend this Complaint to conform to the evidence presented at trial; and
19          I.      Orders granting such other and further relief as the Court deems necessary, just,
20   and proper.
21                                      XII.    DEMAND FOR JURY
22      Plaintiffs demand a trial by jury for all issues so triable.
23                              XIII.         SIGNATURE ATTESTATION
24      The ECF user filing this paper attests that concurrence in its filing has been obtained from
25   each of the other signatories.
26

27

28

                                                – 34 –
                                    FOURTH AMENDED COMPLAINT
                   Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
     Case 4:18-cv-01060-YGR Document 297-1 Filed 06/29/22 Page 36 of 36


     RESPECTFULLY SUBMITTED AND DATED this this 29th day of June, 2022.
 1

 2                               TERRELL MARSHALL LAW GROUP PLLC

 3                             By: /s/ Beth E. Terrell, SBN #178181
                                   Beth E. Terrell, SBN #178181
 4                                 Email: bterrell@terrellmarshall.com
                                   Jennifer Rust Murray, Admitted Pro Hac Vice
 5
                                   Email: jmurray@terrellmarshall.com
 6                                 936 North 34th Street, Suite 300
                                   Seattle, Washington 98103
 7                                 Telephone: (206) 816-6603
                                   Facsimile: (206) 319-5450
 8

 9                                  Michael F. Ram, SBN #104805
                                    Email: mram@forthepeople.com
10                                  MORGAN & MORGAN
                                    711 Van Ness Avenue, Suite 500
11                                  San Francisco, California 94102
                                    Telephone: (415) 358-6913
12                                  Facsimile: (415) 358-6923
13
                                    Anthony I. Paronich, Admitted Pro Hac Vice
14                                  Email: anthony@paronichlaw.com
                                    PARONICH LAW, P.C.
15                                  350 Lincoln Street, Suite 2400
                                    Hingham, Massachusetts 02043
16                                  Telephone: (617) 738-7080
17                                  Facsimile: (508) 318-8100

18                                  Edward A. Broderick, Admitted Pro Hac Vice
                                    Email: ted@broderick-law.com
19                                  BRODERICK LAW, P.C.
                                    176 Federal Street, Fifth Floor
20
                                    Boston, Massachusetts 02110
21                                  Telephone: (617) 738-7080
                                    Facsimile: (617) 830-0327
22
                                    Matthew P. McCue, Admitted Pro Hac Vice
23                                  Email: mmccue@massattorneys.net
                                    THE LAW OFFICE OF MATTHEW P. MCCUE
24
                                    1 South Avenue, Suite 3
25                                  Natick, Massachusetts 01760
                                    Telephone: (508) 655-1415
26                                  Facsimile: (508) 319-3077
27                           Attorneys for Plaintiffs Daniel Berman, Stephanie Hernandez,
                             and Erica Russell and the Proposed Classes
28

                                       – 35 –
                           FOURTH AMENDED COMPLAINT
          Berman v. Freedom Fin. Network, LLC, Case No. 4:18-cv-01060-YGR
